504 F.2d 427
    UNITED STATES of America, Appellant,v.The GARRETT CORPORATION, Appellee.
    No. 74-1488.
    United States Court of Appeals, Sixth Circuit.
    Argued April 3, 1974.Decided Oct. 16, 1974.
    
      William M. Milligan, Gary Brinsfield, U.S. Attys., Dayton, Ohio, Lt. Col.  John J. Stirk, Washington, D.C., George S. Hecker, St. Louis, Mo., for McDonnell Douglas, Charles A. Weiss, Francis Gaffney.
      Paul Horstman, Edward B. Mitchell, Dayton, Ohio, Herbert L. Fenster, James J. Gallagher, Thomas L. Patten, Washington, D.C., for appellee.
      Before PHILLIPS, Chief Judge, and PECK and LIVELY, Circuit Judges.
    
    ORDER
    
      1
      The joint motion of the parties for remand of this case to the United States District Court for entry of a protective order is granted.
    
    
      2
      The protective order to be entered by the district court shall contain the following language:
    
    
      3
      The documents ordered to be produced shall not be disclosed for any purpose except as may be necessary in the normal course of litigation (including discovery and preliminary proceedings and trial on the merits) in the case of The Garrett Corporation v. McDonnell Douglas Corporation, CV 74466F in the United States District Court for the Central District of California.  Documents which are classified shall be handled and safeguarded in accordance with current Department of Defense regulations regarding the use and handling of classified documents.
    
    
      4
      Wherefore it is ordered that this case be and it hereby is remanded to the United States District Court for the Southern District of Ohio, Western Division, for entry of the protective order recited herein.
    
    